         Case 1:21-cr-00670-CJN Document 100 Filed 07/08/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                REPLY IN SUPPORT OF DEFENDANT’S MOTION IN
             LIMINE ON PRESENTING THE INDICTMENT TO THE JURY

       Defendant Stephen K. Bannon, by and through his undersigned counsel, hereby files this

Reply In Support Of Defendant’s Motion in Limine On Presenting The Indictment To The Jury

[Doc. 83], and in support thereof states as follows:

       The Government cites Dallago v. United States, 427 F.2d 546 (D.C. Cir. 1969) on the

issue of a trial court’s discretion in sending an indictment to the jury. [Doc. 91 at 1]. But in a

later case the Circuit expressed significant reservations about doing so. In United States v. Roy,

473 F.3d 1232, 1237 n.2 (D.C. 2006), the Circuit stated as follows: “We note, however, that this

practice often carries significant risks and has few corresponding benefits.” The risks of

permitting the jury to hear or receive a “speaking” indictment is obvious: there is “an

unwarranted benefit to the government when the jury is provided with a copy [of the indictment]

during deliberations, thereby receiving only one side’s version of the contested facts in written

form.” 1 To avoid this prejudice, an indictment should not be read to or presented to the jury. See

Getchell v. United States, 282 F.2d 681, 689-90 (5th Cir. 1960) (“the long recital of the


1
 Robert J. Anello and Richard F. Allen, “Keeping the Indictment out of the Jury Room,” 248
N.Y. Law Journal No. 26 (2012).
          Case 1:21-cr-00670-CJN Document 100 Filed 07/08/22 Page 2 of 3




prosecution’s theory of fraud contained in the indictment tended to prejudice the defendants”),

discussed in Bruce v. United States, 351 F.2d 318, 320 (5th Cir. 1965) (“the trial court

recognized the prejudicial character of the language in which the indictment was framed and

declined to permit it to go to the jury.”).

        A judge in this district took a poll of colleagues as to whether they send the indictment

back to the jury room and found that “[n]o one lets them go back to the jury room.” [Ex. 1 at 1]

(United States v. Bowser, Criminal No. 16-59 (EGS), United States District Court for the District

of Columbia).

        Wherefore, the Defendant respectfully requests that this Court grant his Motion in Limine

On Presenting The Indictment To The Jury.


Dated: July 8, 2022                           Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                                 2
         Case 1:21-cr-00670-CJN Document 100 Filed 07/08/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of July 2022, a copy of the foregoing Reply In

Support Of Defendant’s Motion In Limine On Presenting The Indictment To The Jury was

served via the Court’s CM/ECF system on registered parties and counsel.


                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)




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